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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


  IXI MOBILE (R&D) LTD. AND
  IXI IP, LLC,
                   Plaintiffs,
          v.
  BLACKBERRY LIMITED, et al.,              Case No. 2:15-cv-01883-JRG-RSP

                    Defendants.            (LEAD CASE)

  IXI MOBILE (R&D) LTD. AND
  IXI IP, LLC,
                   Plaintiffs,
          v.
  HTC CORPORATION, et al.,                 Case No. 2:15-cv-01884-JRG-RSP

                    Defendants.            (MEMBER CASE)

  IXI MOBILE (R&D) LTD. AND
  IXI IP, LLC,
                   Plaintiffs,
          v.
  SAMSUNG ELECTRONICS CO., LTD, et al      Case No. 2:15-cv-01885-JRG-RSP

                    Defendants.            (MEMBER CASE)

  IXI MOBILE (R&D) LTD. AND
  IXI IP, LLC,
                   Plaintiffs,
          v.
  ZTE (USA) INC.                           Case No. 2:15-cv-01886-JRG-RSP

                    Defendant.             (MEMBER CASE)
  _____________________________________
  IXI MOBILE (R&D) LTD. AND
  IXI IP, LLC,
                    Plaintiffs,
          v.
  MICROSOFT CORPORATION,

                    Intervenor.
  .
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                                    ORDER OF DISMISSAL

         Before the Court is the Parties’ Joint Stipulation of Dismissal [Dkt. # 99].    In light

  of the Joint Stipulation, the Court (1) DISMISSES IXI’s claims against Defendants in the above-

  captioned matters WITH PREJUDICE, and (2) DISMISSES Defendants’ counterclaims against

  IXI in the above-aptioned matters WITHOUT PREJUDICE. Each party must bear its own costs

  and feesSIGNED
           related tothis
                      the above-captioned matters.
                          3rd day of January, 2012.
         SIGNED this 3rd day of January, 2018.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE




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